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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re:                                                   )   Chapter 11
                                                         )
MEDLY HEALTH INC., et al.,1                              )   Case No. 22-11257 (KBO)
                                                         )
                                  Debtors.               )   (Jointly Administered)
                                                         )
                                                         )   Ref. Docket No. 99



         ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
             AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                 Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (the “Debtors”) for the entry of an order (this “Order”), authorizing the Debtors to

establish procedures for interim compensation and reimbursement of expenses for professionals

and official committee members, as more fully set forth in the Motion; and due and sufficient

notice of the Motion having been provided under the particular circumstances, and it appearing

that no other or further notice need be provided; and that the district court has jurisdiction over the

Motion under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding


1
  The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly
Health Inc. (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc.
(5838); Medly Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly
Bristol Inc. (4556); Medly Bronx Inc. (4741); Medly Chicago Inc. (5231); Medly Dallas Inc. (7581); Medly DC Inc.
(9403); Medly Enterprise LLC (8898); Medly Grand Central Inc. (1741); Medly Houston Inc. (7443); Medly Jersey
City Inc. (5677); Medly Mail Service Pharmacy LLC (9203); Medly Miami Inc. (8101); Medly Orlando Inc. (7581);
Medly Pharmacy Inc. (4606); Medly Pharmacy PA Inc. (8494); Medly Pittsburgh Inc. (8381); Medly Queens Inc.
(9623); Medly Raleigh Inc. (5140); Medly San Antonio Inc. (9973); Medly Stamford Inc. (4966); Medly Tampa Inc.
(5128); Medly UCHC Pharmacy Inc. (6672); Medly Utah Inc. (4648); Pharmaca Integrative Pharmacy, Inc. (0334);
Tango340B LLC (4781); West Campbell Pharmacy Inc. (2931); Khora Health Solutions Inc. (2909); and RPH
Innovations LLC (3767). The Debtors’ business address is 7088 Winchester Circle, Suite 100, Boulder CO 80301.
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  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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pursuant to 28 U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

a hearing having been scheduled and, to the extent necessary, held to consider the relief requested

in the Motion; and the Court having found and determined that the relief requested in the Motion

is in the best interests of Debtors, their estates and creditors, and any parties in interest; and that

the legal and factual bases set forth in the Motion establish just cause for the relief granted herein;

and after due deliberation thereon and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

               1.      The Motion is granted as set forth herein.

               2.      Except as may otherwise be provided in an order of this Court authorizing

the retention of specific Retained Professionals, all Retained Professionals in these chapter 11

cases retained by the Debtors or any Committee may seek interim payment of compensation and

reimbursement of expenses in accordance with the following procedures (collectively, the

“Compensation Procedures”):


                       a.      After the 20th day of each calendar month, each Retained
                               Professional may file an application (a “Monthly Fee Application”)
                               with the Court for interim approval and allowance of compensation
                               for services rendered and reimbursement of expenses incurred
                               during any preceding month or months, and serve a copy of such
                               Monthly Fee Application by first class mail on each of the following
                               parties (collectively, the “Notice Parties”):

                               (1)     counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP,
                                       919 N. Market Street, 17th Floor, Wilmington, DE 19801,
                                       (Attn: Laura Davis Jones (ljones@pszjlaw.com);

                               (2)     counsel to the DIP Lenders, McDermott Will & Emery LLP,
                                       One Vanderbilt Avenue, New York, NY 10017-3852, Attn.:
                                       Darren Azman and Riley T. Orloff (dazman@mwe.com and
                                       rorloff@mwe.com);


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           (3)      counsel to Silicon Valley Bank, Morrison & Foerster LLP,
                    200 Clarendon Street, Floor 21 Boston, MA 02116, Attn:
                    Alexander G. Rheaume (ARheaume@mofo.com), and 250
                    West 55th Street, Floor 20 New York, NY 10019, Attn: Seth
                    J. Kleinman & Miranda Russell (SKleinman@mofo.com
                    and MRussell@mofo.com);

           (4)      the Office of the United States Trustee, 844 King Street,
                    Suite 2207 Lockbox 35, Wilmington, DE 19801, Attn: Linda
                    Casey (linda.casey@usdoj.gov); and

           (5)      counsel to the Committee, Porzio, Bromberg & Newman,
                    P.C., 300 Delaware Avenue, Suite 1220, Wilmington, DE
                    19801, Attn: Warren J. Martin, Jr. (wjmartin@pbnlaw.com),
                    Robert M. Schechter (rmschechter@pbnlaw.com), and Kelly
                    D. Curtin (kdcurtin@pbnlaw.com).

      b.   Each Notice Party will have twenty-one (21) days after service of a
           Monthly Fee Application (the “Objection Deadline”) to object to the
           requested fees and expenses in accordance with the procedures
           described in subparagraph (c) below. Upon the expiration of the
           Objection Deadline, each Retained Professional may file with this
           Court a certificate of no objection (a “CNO”) with respect to the
           unopposed portion of the fees and expenses requested in its Monthly
           Fee Application. After a CNO is filed, the Debtors are authorized to
           pay the applicable Retained Professional an amount (the “Actual
           Monthly Payment”) equal to the lesser of (i) 80% of the fees and
           100% of the expenses requested in the Monthly Fee Application (the
           “Maximum Monthly Payment”) or (ii) 80% of the fees and 100% of
           the expenses not subject to an objection pursuant to subparagraph
           (c) below.

      c.    If any Notice Party objects to a Retained Professional’s Monthly
           Fee Application, it must, on or before the expiration of the Objection
           Deadline, file with this Court and serve on such Professional and
           each other Notice Party a written objection (an “Objection”) so as to
           be received on or before the Objection Deadline. Any such
           Objection shall identify with specificity the objectionable fees
           and/or expenses, including the amount of such objected to fees
           and/or expenses, and the basis for such Objection. Thereafter, the
           objecting party and the affected Retained Professional may attempt
           to resolve the Objection on a consensual basis. If the parties are
           unable to reach a resolution within fifteen (15) days after service of
           the Objection, the affected Retained Professional may either: (i) file
           a response to the Objection with this Court, together with a request
           for payment of the difference, if any, between the Maximum
           Monthly Payment and the Actual Monthly Payment made to such


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           Professional (the “Incremental Amount”) or (ii) forego payment of
           the Incremental Amount until the next interim or final fee
           application hearing, at which time this Court will consider and rule
           on the Objection if requested by the parties

      d.   Any Retained Professional that fails to file a Monthly Fee
           Application for a particular month or months may subsequently
           submit a consolidated Monthly Fee Application including any prior
           month or months. All Monthly Fee Applications shall comply with
           the Bankruptcy Code, the Bankruptcy Rules, applicable Third
           Circuit law, and Local Rule 2016-2.

      e.   At three-month intervals or such other intervals convenient to the
           Court (the “Interim Fee Period”), each of the Retained Professionals
           may file with the Court and serve on the Notice Parties a request (an
           “Interim Fee Application Request”) for interim Court approval and
           allowance of the payment of compensation and reimbursement of
           expenses sought by such Retained Professional in its Monthly Fee
           Applications, including any holdbacks, filed during the Interim Fee
           Period, pursuant to section 331 of the Bankruptcy Code. The
           Interim Fee Application Request must include a brief description
           identifying the following:

           (1)      the Monthly Fee Applications that are the subject of the
                    request;

           (2)      the amount of fees and expenses requested;

           (3)      the amount of fees and expenses paid to date or subject to
                    an Objection;

           (4)      the deadline for parties to file objections (the “Additional
                    Objections”) to the Interim Fee Application Request; and

           (5)      any other information requested by the Court or required by
                    the Local Rules.

      f.   Objections, if any, to the Interim Fee Application Requests shall be
           filed and served upon the Retained Professional that filed the Interim
           Fee Application and the other Notice Parties so as to be received on
           or before 4:00 p.m. prevailing Eastern Time on the 21st day (or the
           next business day if such day is not a business day) following service
           of the applicable Interim Fee Application Request.

           (1)      The Debtors will request that the Court schedule a hearing
                    on the Interim Fee Application Requests at least once every
                    six months. The Debtors, however, may request that a
                    hearing be held every three months or at such other intervals


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                                      as the Court deems appropriate. If no Objections are
                                      pending and no Additional Objections are timely filed, the
                                      Court may grant an Interim Fee Application Request without
                                      a hearing.

                               (2)    The first Interim Fee Period will cover the period from
                                      December 9, 2022 through and including February 28, 2023.
                                      Each Retained Professional may file and serve its first
                                      Interim Fee Application Request on or before the 30th day
                                      following the end of the first Interim Fee Period.
                                      Accordingly, the first Interim Fee Application Requests may
                                      be filed on or before March 30, 2023.

                               (3)    The pendency of an Objection to payment of compensation
                                      or reimbursement of expenses will not disqualify a Retained
                                      Professional from the future payment of compensation or
                                      reimbursement of expenses under the Interim Compensation
                                      Procedures. There will be no other penalties for failing to
                                      file a Monthly Fee Application or an Interim Fee Application
                                      Request in a timely manner.

                       g.      Neither (i) the payment of or the failure to pay, in whole or in part,
                               interim compensation and/or the reimbursement of or the failure to
                               reimburse, in whole or in part, expenses under the Interim
                               Compensation Procedures nor (ii) the filing of or failure to file an
                               Objection will bind any party in interest or the Court with respect to
                               the final allowance of applications for payment of compensation and
                               reimbursement of expenses of Retained Professionals. All fees and
                               expenses paid to Retained Professionals under the Interim
                               Compensation Procedures are subject to disgorgement until final
                               allowance by the Court.

               3.      Each member of the Committee, if any, is permitted to submit statements of

expenses incurred from and after the date of appointment in the performance of the duties of the

committee (excluding third-party counsel expenses of individual committee members) with

supporting vouchers to Committee counsel, which counsel shall collect and submit the committee

member’s request for reimbursement in accordance with the Compensation Procedures. Approval

under the Compensation Procedures, however, will not authorize payment of such expenses to the

extent that such payment is not authorized under the Bankruptcy Code, the Bankruptcy Rules,

Local Rules, or the practice of this Court.


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                4.     The Retained Professionals shall be required to serve the Interim Fee

Applications and the Final Fee Applications only on the Notice Parties, and all other parties that

have filed a request for special notice with the Clerk of this Court pursuant to Bankruptcy Rule

2002 shall be entitled to receive only notice of hearings on the Interim Fee Applications and Final

Fee Applications.

                5.     In each Interim Fee Application and Final Fee Application, all Retained

Professionals (a) shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court, and

(b) attorneys (collectively, the “Attorneys”) who have or are hereafter retained pursuant to sections

327 or 1103 of the Bankruptcy Code shall make a reasonable effort to comply with the U.S.

Trustee’s requests for information and additional disclosures as set forth in the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 cases Effective as of November 1, 2013 (the “U.S. Trustee

Guidelines”).

                6.     All notices given in accordance with the Compensation Procedures as set

forth herein shall be deemed sufficient and adequate notice and in full compliance with the

applicable provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                7.     The Debtors shall include all payments made to Retained Professionals in

accordance with the Compensation Procedures in their monthly operating report(s), identifying the

amount paid to each of the Retained Professionals.




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               8.      Notice of the Motion as provided therein shall be deemed good and

sufficient notice as such motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Bankruptcy Rules are satisfied by such notice.

               9.      The Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance with the Motion.

               10.     The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation of this Order.




   Dated: January 6th, 2023                            KAREN B. OWENS
   Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE



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